Case 8:22-cv-01562-JWH-KES        Document 229     Filed 12/26/24   Page 1 of 5 Page ID
                                       #:7290



   1
   2
   3
   4
   5
   6
   7
   8                      UNITED STATES DISTRICT COURT
   9              FOR THE CENTRAL DISTRICT OF CALIFORNIA
  10
  11   SARA SAFARI, on behalf of                       Case No. 8:22-cv-01562-JWH-KESx
         themselves and all others similarly
  12     situated,
       PEYMON KHAGHANI, on behalf of                   ORDER GRANTING
  13     themselves and all others similarly           DEFENDANTS’ EX PARTE
         situated,                                     APPLICATION TO EXTEND
  14   JASON ROSE, on behalf of themselves             BRIEFING SCHEDULE [ECF
         and all others similarly situated, and        No. 225]
  15   FARM FORWARD, on behalf of the
         general public,
  16
                    Plaintiffs,
  17
             v.
  18
       WHOLE FOODS MARKET, INC.,
  19   WHOLE FOODS MARKET
         SERVICES, INC.,
  20   WHOLE FOODS MARKET
         CALIFORNIA, INC., and
  21   MRS. GOOCH’S NATURAL FOOD
         MARKETS, INC.,
  22
                    Defendants.
  23
  24
  25
  26
  27
  28

                                                 -1-
Case 8:22-cv-01562-JWH-KES      Document 229      Filed 12/26/24    Page 2 of 5 Page ID
                                     #:7291



   1         Before the Court is the ex parte application of Defendants Whole Foods
   2   Market Services, Inc.; Whole Foods Market California, Inc.; and Mrs. Gooch’s
   3   Natural Foods Markets, Inc. to modify the briefing schedule related to the
   4   motion for class certification filed by Plaintiffs Sara Safari and Peymon
   5   Khaghani. 1 Plaintiffs oppose Defendants’ Application. 2 The Court concludes
   6   that this matter is appropriate for resolution without a hearing. See
   7   Fed. R. Civ. P. 78; L.R. 7-15. For the reasons detailed below, the Application is
   8   GRANTED.
   9                                  I. BACKGROUND
  10         The parties are familiar with the history of this putative class action. 3 As
  11   relevant here, in May 2024 the Court granted the parties’ stipulation to extend
  12   the deadlines regarding class certification, which set a deadline of August 6,
  13   2024, for Plaintiffs to file a motion for class certification. 4 One week before that
  14   deadline, Plaintiffs moved to vacate the class certification hearing, because
  15   (1) Plaintiffs planned to file a motion to amend the Second Amended Complaint;
  16   (2) Defendants had not yet produced some documents that Plaintiffs believed
  17   would be relevant to class certification; and (3) Safari had not yet been deposed,
  18   and her deposition testimony was relevant to the motion for class certification. 5
  19
  20
  21   1
            Def.’s Ex Parte Appl. to Modify Class Certification Briefing Schedule (the
  22   “Application”) [ECF No. 225]; see also Pl.’s Mot. for Class Certification (the
  23   “Motion for Class Certification”) [ECF No. 218].
       2
             See Pl.’s Opp. to Application (the “Opposition”) [ECF No. 228].
  24
       3
             See Order re. Def.’s Mot. to Dismiss [ECF No. 74].
  25
       4
            Ord. Granting Stip. to Extend the Deadline for Pls. Sara Safari and
  26
       Peymon Khaghani to Move to Certify the Class [ECF No. 147].
  27   5
             See Pl.’s Ex Parte Appl. to Vacate Class Certification Hearing [ECF
  28   No. 153].

                                                -2-
Case 8:22-cv-01562-JWH-KES        Document 229     Filed 12/26/24   Page 3 of 5 Page ID
                                       #:7292



   1   Defendants opposed the extension, 6 and the Court granted the extension in
   2   part. 7 The current deadlines are as follows:
   3        x the deadline for Plaintiffs to move for class certification was December 6,
   4           2024;
   5        x the deadline for Defendants to respond to such motion is January 17,
   6           2025;
   7        x the deadline for Plaintiffs to file a reply in support of such motion is
   8           February 14, 2025; and
   9        x the hearing on such motion shall be set for March 18, 2025, at 10:00 a.m. 8
  10           Plaintiffs filed their Motion for Class Certification in a timely manner on
  11   December 6, 2024.9 Defendants filed the instant Application approximately two
  12   weeks later, on December 19, 2024. 10
  13                                II. LEGAL STANDARD
  14           “The opportunities for legitimate ex parte applications are extremely
  15   limited.” Lum v. Mercedes-Benz USA, LLC, 2012 WL 13012454, at *4 (C.D.
  16   Cal. Jan. 5, 2012) (citation omitted). To justify ex parte relief, the moving party
  17   must make two showings: (1) “the evidence must show that the moving party’s
  18   cause will be irreparably prejudiced if the underlying motion is heard according
  19   to regular noticed motion procedures”; and (2) “it must be established that the
  20   moving party is without fault in creating the crisis that requires ex parte relief, or
  21
  22
       6
  23        See Def.’s Opp’n to Ex Parte Appl. to Vacate Class Certification Hearing
       [ECF No. 156].
  24   7
            See Order Re. Pl.’s Ex Parte Appl. to Continue (the “Scheduling Order”)
  25   [ECF No. 157].
  26   8
               Id.
       9
  27           See Motion for Class Certification.
       10
  28           See Application.

                                                 -3-
Case 8:22-cv-01562-JWH-KES       Document 229     Filed 12/26/24   Page 4 of 5 Page ID
                                      #:7293



   1   that the crisis occurred as a result of excusable neglect.” Mission Power
   2   Engineering Co. v. Continental Cas. Co., 883 F. Supp. 488, 492 (C.D. Cal. 1995).
   3                                     III. ANALYSIS
   4         Defendants argue that they are entitled to ex parte relief in large part
   5   because Defendants are unable to obtain deposition testimony from critical
   6   witnesses, including Plaintiffs’ expert witnesses and Safari, in time for
   7   Defendants to file their opposition to the Motion for Class Certification. 11 In
   8   their Opposition, Plaintiffs assert that Defendants have not shown good cause to
   9   extend the briefing schedule because Defendants can file their opposition
  10   without taking the depositions at issue, or Defendants could have tried to take
  11   those depositions sooner. 12
  12         The Court concludes that Defendants are entitled to ex parte relief. Based
  13   upon the Application and supporting declaration, it appears that, despite
  14   Defendants’ attempt to schedule the depositions of Plaintiffs’ witnesses in
  15   December, Defendants are unable to obtain those depositions in time to file their
  16   opposition.13 For example, one of Plaintiffs’ witnesses is available for a
  17   deposition only on January 17, 2025—the same day that Defendants’ opposition
  18   is due. 14 It also appears that Plaintiffs rebuffed Defendants’ attempts to obtain
  19   information that would have facilitated earlier depositions of those witnesses. 15
  20   Moreover, the Court finds Plaintiffs’ arguments regarding good cause
  21   unpersuasive in view of Plaintiffs’ prior request for the Court to vacate the class
  22
  23   11
             See generally id.
  24   12
             See generally Opposition.
  25   13
            See Decl. of David P. Adams in Supp. of the Application, Ex. 1 (the
  26   “Correspondence”) [ECF No. 225-3].
       14
  27         See id.
       15
  28         See id.

                                                -4-
Case 8:22-cv-01562-JWH-KES   Document 229   Filed 12/26/24   Page 5 of 5 Page ID
                                  #:7294
